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                  IN THE UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF TEXAS – BROWNSVILLE DIVISION


 SCARBOROUGH,                               )
                                            )
        Movants,                            )
                                            ) Case Misc. Action No. 1:22-mc-00100
 v.                                         )
                                            ) Judge Fernando Rodriguez, Jr.
 LOZANO, et al.,                            )
                                            )
        Respondents                         )


       MOTION OF MOVANT, JENNIFER SCARBOROUGH, FOR SANCTIONS

       Pursuant to Federal Rule of Civil Procedure 26(g) and the inherent power of this Court,

Movant, Jennifer Scarborough (“Ms. Scarborough”) moves for this Court to issue sanctions

against the Respondents Alexandra Lozano (“Plaintiff Lozano”), Angelyne Lisinski (“Plaintiff

Lisinski”), and Giulia Fantacci (“Plaintiff Fantacci”) for discovery abuses associated with the

subpoena served upon her. In Support of this Motion, Ms. Scarborough states the following:

                               MEMORANDUM IN SUPPORT

I.     BACKGROUND AND INTRODUCTION

       In April of 2021, Ms. Scarborough, an immigration attorney who has at all relevant times

resided in and been licensed in the State of Texas, filed a bar complaint with the Washington

State Bar Association (“WSBA”) against Plaintiff Lozano, an immigration attorney who has at

all relevant times resided in and been licensed in the State of Washington, regarding the ethics of

her business practices and her social media marketing. Ms. Lozano’s social media marketing has

been widely condemned by the immigration attorney community. Ms. Scarborough reported Ms.

Lozano’s marketing because she felt concerned that it violated the WSBA’s ethics rules regarding

deceptive marketing. After 1.5 years, the bar complaint remains ongoing. In addition to Ms.

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Lozano’s marketing practices, Ms. Scarborough reported Ms. Lozano’s business practices and

perceived conflicts of interest. Ms. Scarborough last spoke with the WSBA in August 2022, and

during that conversation, the WSBA explained that Ms. Lozano had failed to fully comply with

the investigation.

       On August 10, 2022, Plaintiffs filed a Complaint against numerous unidentified

Defendants in the Southern District of Ohio (Columbus), where only Plaintiff Lisinski resides

and is licensed to practice law. Concurrently with the filing of the Complaint, Plaintiffs filed a

Motion for Leave to Serve Third Party Subpoenas Prior to a Rule 26(f) Conference, which was

granted by the court on August 12, 2022. In their complaint alleging online harassment and the

wrongful removal of their social media posts, Ms. Lozano failed to disclose the pending bar

complaint against her. By not disclosing that her social media could have been rightfully

removed for violating ethics rules, Ms. Lozano obtained the right to serve subpoenas against

innumerable third-parties.

       The Court order granted subpoenas for “depositions of individuals suspected of being

involved in the campaign” but only to determine “the extent of those individuals’ knowledge

regarding the defamatory campaign, and their knowledge of the defamers’ identities.” However,

Ms. Lozano’s subpoenas far exceeded the Court’s order by requesting documents and

information that in no way related to the identity of any online campaign against her. Ms. Lozano

has also not explained why she believes Ms. Scarborough is suspected of having knowledge of

any online campaign against her. The subpoena also requested discovery that far exceeded the

limits established by federal district courts. Upon seeing the broad scope of the subpoena, Ms.

Scarborough immediately felt that she was being harassed for having filed the bar complaint

against Ms. Lozano.


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       During meet and confers and through these court filings, Ms. Scarborough explained that

she had not engaged in the alleged activity nor did she know of any one who had. Ms.

Scarborough has no knowledge of any campaign against the Respondents. Ms. Scarborough also

asked for any evidence they had connecting her to the alleged activity, and they have provided

none to her or this Court.

       On September 19, 2022, Ms. Scarborough filed a Motion to Quash with this Court. In the

Court’s scheduling order, it explicitly stated that the subpoena was stayed pending the place of

compliance’s decision on the substantive issues regarding the Motion to Quash.

       On October 13, 2022, the Respondents filed a Motion for Limited Document Production

and Expedited Ruling because they wanted the issuing Court to explicitly state that the subpoena

for “deposition” also included “document production.” Despite the fact that the subpoena was

stayed pending the place of compliance’s decision on the Motion to Quash, the Respondents

decided to try to amend the subpoena. On October 24, 2022, the issuing Court denied their

motion, finding it was in the interest of justice to allow the Movants to express opposition before

ruling on further discovery motions. The issuing Court also reiterated that the subpoena was only

to determine the identity of their online harassers and that depositions through oral testimony

should be more than sufficient. Importantly, in their Motion for Limited Document Production

and Expedited Ruling, the Respondents stated that they have only issued subpoenas against two

internet platforms: Facebook and Google. Interestingly, they mentioned TikTok 59 times in their

complaint, but as of October 13th, they had not served a subpoena against TikTok. Dkt No. 1-B..

However, the Respondents did serve subpoenas for broad document discovery against two

immigration attorneys, who were never mentioned in their complaint and have no information.




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        On October 25, 2022, the Respondents filed a copy of the issuing Court’s order denying

their Motion for Limited Document Production and Expedited Ruling. In their Notice to the

place of compliance, the Respondents continue to insist that Ms. Scarborough sit for a

deposition, even though Ms. Scarborough, as an officer of the Court, has stated repeatedly, under

penalty of perjury, that she has no information.

        Ms. Scarborough has argued throughout these proceedings that the Respondents’

subpoena against her is nothing more than harassment and a fishing expedition for having filed a

bar complaint against Ms. Lozano. The Respondents’ filings and aggressive pursuit of deposing

her, without providing any evidence as to its relevance, further indicates their bad faith and

improper motive. Because the Respondents have violated discovery rules under Rule 26(g), Ms.

Scarborough moves for this Court to sanction the Respondents, or, in the alternative, sanction the

Respondents under the inherent power of this Court.

II.     SUMMARY OF RELEVANT LAW

        A.      Sanctions under Federal Rule of Civil Procedure 26(g)

        Federal Rule of Civil Procedure 26(g), added in 1983, provides that attorneys signing a

discovery request must certify that to the best of their knowledge, information, and belief formed

after a reasonable inquiry that every discovery request is (i) consistent with these rules and

warranted by existing law or for a non-frivolous argument for extending, modifying, or reversing

existing law, or for establishing new law; (ii) not interposed for any improper purpose, such

as to harass, cause unnecessary delay, or needlessly increase the cost of litigation; and (iii)

neither unreasonable nor unduly burdensome or expensive, considering the needs of the

case, prior discovery in the case, the amount in controversy, and the importance of the issues at

stake in the action. If a certification violates this rule without substantial justification, the court,




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on motion or on its own, must impose an appropriate sanction on the signer, the party on whose

behalf the signer was acting, or both. The sanction may include an order to pay the reasonable

expenses, including attorney’s fees, caused by the violation. FED. R. CIV. P. 26(g).

       “Rule 26(g) imposes an affirmative duty to engage in pretrial discovery in a responsible

manner that is consistent with the spirit and purposes of Rules 26 through 37.” Fed. R. Civ. P.

26(g) advisory committee’s note (1983). Rule 26(g) specifically “requires that parties make a

reasonable inquiry before conducting or opposing discovery.” Smith v. Our Lady of the Lake

Hosp., Inc., 960 F.2d 439, 448 (5th Cir. 1992). Rule 26(g) “provides a deterrent to excessive

discovery by imposing a certification requirement that obliges each attorney to stop and think

about the legitimacy of a discovery request, a response thereto, or an objection” and whether it is

consistent with the Federal Rules of Civil Procedure and “grounded on a theory that is

reasonable under the precedents or a good faith belief as to what should be the law.” Fed. R. Civ.

P. 26(g) advisory committee’s note (1983). Heller et. al., v. City of Dallas, No. 3:2013cv04000

(N.D. Dallas Nov. 12, 2014).

       B.      Sanctions under the Inherent Authority of this Court

       “‘Federal courts have undisputed, inherent power to regulate practice in cases pending

before them.’” Carroll v. Jacques, 926 F. Supp. 1282, 1288 (E.D. Tex. 1996) (quoting Chambers

v. NASCO, Inc., 501 U.S. 32, 43 (1991)). “This power originates from ‘the control necessarily

vested in courts to manage their own affairs so as to achieve the orderly and expeditious

disposition of cases.’” Id. (quoting Natural Gas Pipeline v. Energy Gathering, Inc., 2 F.3d 1397,

1406 (5th Cir.1993), cert. denied, 510 U.S. 1073 (1994)) (internal citations omitted). In

exercising its inherent power, a court can sanction a party for abusing the judicial process. Id.




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(citing Chambers, 501 U.S. at 43–44). Heller et. al., v. City of Dallas, No. 3:2013cv04000 (N.D.

Dallas 2014).

III.    ARGUMENT

        A.      The Respondents should be sanctioned for violating FED. R. CIV. P. 26(g)

        If this Court finds that the Respondents violated Rule 26(g), then this Court must issue

sanctions unless this Court finds substantial justification for their actions. The respondents have

violated 26(g) by requesting discovery not warranted by existing law, by requesting discovery

meant to harass, and requesting unduly burdensome discovery considering the needs of the case.

They have provided no substantial justification for their actions.

        The Respondents' subpoena requested discovery not warranted by existing law because it

was an overly broad search for “any and all” texts, Facebook messages, and emails containing

the names of the parties and numerous other search terms. Manookian v. Mervis, Civil Action

No. 4:17-mc-00056, at 3 (E.D. Tex. Aug. 11, 2017) (finding a subpoena that requested any and

all emails that contained the parties’ names to be facially overbroad); Williams v. City of Dall.,

178 F.R.D. 103, 109 (N.D. Tex. 1998)).

        The Respondents’ subpoena also far exceeded the issuing Court’s order. Dkt No. 1-D..

The issuing Court allowed for “depositions of individuals suspected of being involved in the

campaign” but only to determine “the extent of those individuals’ knowledge regarding the

defamatory campaign, and their knowledge of the defamers’ identities.” Id. Instead, the

Respondents served subpoenas requesting broad discovery of “any and all documents” related to

the parties’ names and numerous other search terms. Dkt No. 1-D. Ex. D. They did not provide

any justification, much less substantial justification, for such a broad and invasive discovery




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search. The Respondents’ overly broad subpoena that disregarded the Court order and case law

has forced Ms. Scarborough, a third party, to engage in unnecessary litigation.

       The Respondents’ actions also indicate that their motive is simply to harass Ms.

Scarborough rather than engage in any legitimate discovery to aid their litigation. Rather than

serving a subpoena on TikTok, the Respondents served a subpoena on Ms. Scarborough, whose

only real connection to the Respondents is the pending bar complaint she filed against Ms.

Lozano. Dkt No. 5-B. Ms. Lozano also failed to mention her pending bar investigation in her

complaint, which allowed her to paint herself as a victim and serve subpoenas against

third-parties in order to engage in one-sided discovery. Dkt No. 1-E.

       Even after the issuing court reiterated that the depositions were limited to oral testimony

to determine the identity of those allegedly involved in an online campaign against them, the

Respondents continued to insist that Ms. Scarborough sit for a deposition. Dkt No. 6-1.. This is

especially concerning considering the fact that Ms. Scarborough has repeatedly stated, under

perjury, that she has no knowledge of any online campaign. Dkt No. 1-B; Dkt No. 5-A. The

insistence of the subpoena against someone that has no connection to an online campaign against

them also falls outside the parameters of the issuing Court’s order and only serves to harass.

       Their discovery request is also unduly burdensome considering the needs of the case.

After more than two months into their suit, they have not served a subpoena on TikTok, the

platform most likely to have the information they are searching for. Dkt No. 5-B. In their

complaint, the Respondents mentioned TikTok almost 60 times. Instead, the Respondents rushed

to serve Ms. Scarborough with an overly broad subpoena about thirteen days after filing their

complaint. Ms. Scarborough has also repeated at the meet and confer and throughout this

litigation that she knows nothing of any online campaign. Seeing as Ms. Scarborough has no




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knowledge and is not the party best suited for discovery, it is unduly burdensome to pursue

document production or an oral deposition. It has forced Ms. Scarborough to engage in

unnecessary litigation that has no relevant basis.

        B.     The Respondents should be sanctioned under the Court’s Inherent Authority

        The only action connecting Ms. Scarborough to the Respondents is the bar complaint that

she filed against Ms. Lozano, which remains pending. Dkt Nos. 1-B; 1-G.. Ms. Scarborough, as

a Texas attorney, is obligated to report attorney misconduct that does not involve privileged

information. When Ms. Scarborough learned of what appeared to be egregious ethical

misconduct on the part of Ms. Lozano, Ms. Scarborough reported it. The fact that the bar

complaint remains ongoing over 1.5 years later indicates that the complaint was not frivolous.

Ms. Scarborough should not face retaliation for simply complying with her ethics rules and duty

to report.

        The fact that Ms. Lozano has pursued a baseless subpoena against Ms. Scarborough, has

not filed a subpoena against TikTok, has failed to follow federal case law regarding the limits on

subpoenas, failed to follow Court order regarding the breadth of the subpoena, failed to follow

the Court order regarding the stay of the subpoena, all indicates that she has acted in bad faith.

This Court should sanction Ms. Lozano for abusing the discovery process.

        Ms. Scarborough also seeks sanctions to deter Ms. Lozano from trying to re-file this suit

in another forum, should the subpoena be quashed for lack of personal jurisdiction. Ms.

Scarborough is concerned that Ms. Lozano will simply refile in an appropriate forum and

continue to target and harass Ms. Scarborough through abuse of discovery.

        WHEREFORE, Jennifer Scarborough respectfully requests that this Court enter an order

for sanctions against the Respondents.




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      Respectfully submitted on this 26th day of October 2022,



s// Jennifer Scarborough
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                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that on October 26, 2022, the foregoing was electronically filed
with the Clerk of Court using the CM/ECF system and was served on all counsel of record.


s// Jennifer Scarborough
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